     Case 2:14-cv-09764-R-PLA Document 26 Filed 02/04/15 Page 1 of 4 Page ID #:853


1

2

3

4

5

6

7

8

9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11

12     VITALY IVANOVICH SMAGIN                   CASE NO. 14-cv-09764-R (PLAx)
13           Petitioner,                         Before the Honorable Manuel L. Real
                                                 United State District Judge
14           v.
                                                 ORDER GRANTING STIPULATION
15     ASHOT YEGIAZARYAN,                        AND MOTION FOR STAY OF
                                                 PROCEEDINGS AND
16           Respondent.                         PRELIMINARY INJUNCTION
                                                 PREVENTING TRANSFER OR
17                                               DISSIPATION OF ASSETS
18

19

20

21

22

23

24

25

26

27

28


           [PROPOSED] ORDER GRANTING STIPULATION AND MOTION FOR STAY OF PROCEEDINGS AND
                PRELIMINARY INJUNCTION PREVENTING TRANSFER OR DISSIPATION OF ASSETS
     Case 2:14-cv-09764-R-PLA Document 26 Filed 02/04/15 Page 2 of 4 Page ID #:854


1
             The Stipulation of petitioner Vitaly Ivanovich Smagin and respondent Ashot
2
       Yegizaryan having been reviewed by the Court, along with all pleadings and evidence
3
       on file, and
4
             Good cause for the requested stay appearing therefor pursuant to Article VI of
5
       the New York Convention on the Recognition and Enforcement of Foreign Arbitral
6
       Awards, 21 U.S.T. 2517, 330 U.N.T.S. 38, AVAILABLE AT 1970 WL 104417; 9
7
       U.S.C. §§ 201, and the Federal Arbitration Act at 9 U.S.C. § 201 et seq, as well as the
8
       interests of comity and efficiency, and
9
             Good cause for the requested injunction appearing therefore pursuant to Federal
10
       Rule of Civil Procedure 65 and applicable case law,
11
             IT IS HEREBY ORDERED THAT:
12
             (a) Pursuant to Article VI of the New York Convention, as applied via the
13
                 Federal Arbitration Act, 9 U.S.C. § 201, this matter shall be STAYED
14
                 pending a determination on the merits by the English High Court of Justice in
15
                 the claim challenging the London Award filed by Yegiazaryan on or about
16
                 December 9, 2014, and
17

18           IT IS FURTHER ORDERED THAT:
19           (b) Pending a final determination on the merits in this matter (or a dismissal of
20               the same), as to any assets as to any assets Yegiazaryan, his agents, and/or
21               any person or entity acting under his direction and control shall be
22               PRELIMINARILY ENJOINED from taking any action to transfer, assign,
23               conceal, diminish, or dissipate any property of Yegiazaryan located in
24               California--in an amount up to $84,290,064.20--that may be used to satisfy
25               the foreign-arbitral award payable to Vitaly Smagin, including specifically
26               and without limitation the amounts received or to be received by Respondent
27               Yegiazaryan or on his behalf by his agents or any person or entity acting
28               under his direction and control in payment or satisfaction of an arbitration
                                                   1
          ORDER GRANTING STIPULATION AND MOTION FOR STAY OF PROCEEDINGS AND PRELIMINARY
                     INJUNCTION PREVENTING TRANSFER OR DISSIPATION OF ASSETS
     Case 2:14-cv-09764-R-PLA Document 26 Filed 02/04/15 Page 3 of 4 Page ID #:855


1
                award from Suleyman Kerimov, as well as any shares in Endrino Corporation
2
                or any other entity to the extent owned by Yegiazaryan. Petitioner’s previous
3
                deposit of $10,000 in security with the Clerk of Court shall constitute
4
                adequate security for the Preliminary Injunction pursuant to Federal Rule of
5
                Civil Procedure 65(c). This injunction does not preclude Yegiazaryan from
6
                expenditures in the ordinary course, nor does it preclude him from payment
7
                of attorneys’ fees and costs related to litigation. This injunction is granted
8
                pursuant to the parties’ stipulation and on the basis of the evidence and
9
                pleadings on file in order to maintain the status quo pending resolution of this
10
                action, and
11
             IT IS FURTHER ORDERED THAT:
12
             (c) Petitioner’s application for a Right to Attach Order is hereby withdrawn
13
                without prejudice to refiling in the future and the hearing on this application
14
                currently scheduled for February 17, 2015 is vacated.
15
             IT IS FURTHER ORDERED THAT:
16
             (d) Should the arbitration award at issue in this matter (the “London Award”) be
17
                set aside or annulled by the English High Court of Justice, Respondent shall
18
                be entitled to a release of the Preliminary Injunction, fourteen days after such
19
                ruling becomes final, without prejudice to any right of Petitioner to seek a
20
                continuation of that injunction or other similar relief.
21

22
       IT IS SO ORDERED.
23
             Dated: February 4, 2015
24
                                                       _________________________
25
                                                       Hon. Manuel L. Real
26
                                                       United States District Judge
27

28

                                                   2
                                         [PROPOSED] ORDER
               FOR STAY OF PROCEEDINGS AND PRELIMINARY INJUNCTION IN SUPPORT OF STAY
     Case 2:14-cv-09764-R-PLA Document 26 Filed 02/04/15 Page 4 of 4 Page ID #:856


1

2
       Submitted by:
3

4
       DATED: February 9, 2015              BAKER & MCKENZIE
5
                                            By: /s/ Nicholas Kennedy
6                                           Nicholas Kennedy
                                            Attorneys for Petitioner
7

8      DATED: February 9, 2015              TANTALO & ADLER LLP
9                                           By: /s/ Michael S. Adler
                                            Michael S. Adler
10                                          Attorneys for Respondent
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                3
                                         [PROPOSED] ORDER
               FOR STAY OF PROCEEDINGS AND PRELIMINARY INJUNCTION IN SUPPORT OF STAY
